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 9
10                     UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12
13 In re: KIA HYUNDAI VEHICLE                Case No. 8:22-ML-3052-JVS(KESx)
   THEFT MARKETING, SALES
14 PRACTICES, AND PRODUCTS
   LIABILITY LITIGATION                      The Honorable James V. Selna
15
16                                           SUPPLEMENTAL DECLARATION
                                             OF CRISTINA HENRIQUEZ IN
17                                           SUPPORT OF DEFENDANTS’
18 This document relates to:                 RESPONSE TO RUTH RUBIN’S
                                             OBJECTION TO THE AMENDED
19 CONSUMER CLASS ACTION                     SETTLEMENT AGREEMENT
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                           HENRIQUEZ SUPPLEMENTAL DECL. ISO DEFENDANTS’ RESPONSE TO
                        RUTH RUBIN’S OBJECTION TO THE AMENDED SETTLEMENT AGREEMENT
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 1             SUPPLEMENTAL DECLARATION OF CRISTINA HENRIQUEZ
 2        Pursuant to 28 U.S.C. § 1746, I, Cristina Henriquez, declare as follows:
 3        1.     I am a member of the bar of the State of California and an associate at
 4 Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for defendants Hyundai Motor
 5 America, Kia America, Inc., Hyundai Motor Company, and Kia Corporation . Unless
 6 stated on information and belief, I make this declaration based on my personal,
 7 firsthand knowledge, and if called and sworn as a witness, I could and would testify
 8 competently thereto.
 9        2.     On June 17, 2024, defendants filed a response to Ruth Rubin’s objection
10 to the Amended Settlement Agreement. Dkt. 470. Out of an abundance of caution,
11 defendants did not file a document Rubin produced bearing bates numbers
12 RUBIN000346–RUBIN000355 because Rubin designated the document as
13 “confidential.” Id. at 4 n.2.
14        3.     On June 18, 2024, Rubin consented to defendants publicly filing the
15 document as long as it redacted personal identifying information.
16        4.     Attached as Exhibit C is a true and correct copy of the document Rubin
17 produced in this action bearing bates numbers RUBIN000346–RUBIN000355, which
18 redacts personal identifying information pursuant to Central District of California
19 Local Rule 5.2-1 and Rubin’s request.
20        I declare under penalty of perjury that the foregoing is true and correct.
21
22        Executed on the 19th of June 2024 in Culver City, California.
23
24                                        /s/ Cristina Henriquez
                                          Cristina Henriquez
25
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                              HENRIQUEZ SUPPLEMENTAL DECL. ISO DEFENDANTS’ RESPONSE TO
                           RUTH RUBIN’S OBJECTION TO THE AMENDED SETTLEMENT AGREEMENT
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